               Case 4:24-cv-01454-JST Document 67 Filed 09/04/24 Page 1 of 3




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                                    UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10                                       OAKLAND DIVISION

11   Abdi Nazemian, et al.,                     Case No. 4:24-cv-01454-JST
                                                Case No. 4:24-cv-02655-JST
12                  Plaintiffs,
                                                [PROPOSED] ORDER AFTER CASE
13          vs.                                 MANAGEMENT CONFERENCE
14   NVIDIA Corporation,                        Judge: Hon. Jon S. Tigar
                                                Courtroom: 6 - 2nd Floor
15                  Defendant.
16
     Andre Dubus III, et al.,
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                    Plaintiffs,
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            vs.
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     NVIDIA Corp.,
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                    Defendant.
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       Case No. 4:24-cv-01454-JST
30     Case No. 4:24-cv-02655-JST
                            [PROPOSED] ORDER AFTER CASE MANAGEMENT CONFERENCE
31
                 Case 4:24-cv-01454-JST Document 67 Filed 09/04/24 Page 2 of 3




 1                 [PROPOSED] ORDER AFTER CASE MANAGEMENT CONFERENCE

 2          This matter came before the Court for a case management conference on August 29, 2024.

 3   Counsel for all parties appeared. Based on the discussions at the conference and the record in this case,

 4   the Court hereby ORDERS as follows:

 5          1.      The parties are hereby ordered to meet and confer in good faith to discuss and agree upon

 6   the selection of up to three (3) Magistrate Judges seated in either the Oakland or San Francisco

 7   Divisions of this Court to supervise discovery in this action. In the event the parties are unable to reach

 8   an agreement on the selection of a single Magistrate Judge after engaging in good faith meet and confer

 9   efforts, they shall file a joint submission informing the Court of their inability to agree.

10          2.      Additionally, once the Court has determined the sequencing of class certification and

11   summary judgment motions, the parties are hereby ordered to meet and confer in good faith to discuss

12   and agree upon a schedule for this case, including deadlines for fact discovery, expert disclosures, and

13   Daubert motions. In the event the parties are unable to reach an agreement on the case schedule after

14   engaging in good faith meet and confer efforts, Plaintiffs and Defendant shall each submit the following

15   to the Court on or before September 9, 2024:

16                  •      Separate proposed case schedules; and

17                  •      Briefs, not to exceed 3 pages in length, setting forth their respective positions and

18                         arguments in support of their proposed case schedules.

19          3.      The parties are also hereby ordered to meet and confer in good faith to discuss the

20   contents of a proposed protective order and a proposed order setting forth the protocol for discovery of

21   electronically stored information (“ESI”) that shall govern in this action. Should the parties be unable to

22   reach a consensus on the contents of the protective order and/or the ESI protocol order after engaging in

23   good faith meet and confer efforts, Plaintiffs and Defendant shall each submit the following to the Court

24   on or before September 19, 2024:

25                  •      Separate proposed protective orders, if the parties have not reached an agreement

26                         on a joint proposed protective order;
27                  •      Separate proposed ESI protocol orders, if the parties have not reached an

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       Case No. 4:24-cv-01454-JST
30     Case No. 4:24-cv-02655-JST                  1
                            [PROPOSED] ORDER AFTER CASE MANAGEMENT CONFERENCE
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                 Case 4:24-cv-01454-JST Document 67 Filed 09/04/24 Page 3 of 3




 1                         agreement on a joint proposed ESI protocol order;

 2                  •      Briefs, not exceeding ten (10) pages in length, setting forth their respective

 3                         positions and arguments in support of their proposed protective and/or ESI

 4                         protocol orders; and

 5                  •      No more than two (2) declarations per side, each not exceeding ten (10) pages in

 6                         length, providing factual support for their respective positions on the proposed

 7                         protective and/or ESI protocol orders.

 8          4.      In the event that Plaintiffs and Defendant submit separate proposed protective orders

 9   and/or ESI protocol orders, each side shall have the opportunity to submit a responsive brief addressing

10   the other side’s proposals. Plaintiffs and Defendant shall each submit briefs in response, not to exceed

11   five (5) pages in length, on or before September 26, 2024.

12          5.      The parties shall attend a hearing via Zoom videoconference on October 16, 2024, at

13   9:30 a.m. Pacific Time to address the proposed protective order and ESI protocol order.

14

15   IT IS SO ORDERED.

16

17   Dated: ________________                                      _________________________________
                                                                        The Honorable Jon S. Tigar
18                                                                       U.S. District Court Judge
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       Case No. 4:24-cv-01454-JST
30     Case No. 4:24-cv-02655-JST                  2
                            [PROPOSED] ORDER AFTER CASE MANAGEMENT CONFERENCE
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